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                   EXHIBIT D
Case 3:17-cv-00072-NKM-JCH Document 945-4 Filed 04/26/21 Page 2 of 4 Pageid#:
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UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF VIRGINIA
                         Charlottesville Division


 ELIZABETH SINES, SETH WISPELWEY,
 MARISSA BLAIR, APRIL MUNIZ,
 MARCUS MARTIN, NATALIE ROMERO,
 CHELSEA ALVARADO, JOHN DOE, and
 THOMAS BAKER,

                           Plaintiffs,

 v.

 JASON KESSLER, RICHARD SPENCER,
 CHRISTOPHER CANTWELL, JAMES
 ALEX FIELDS, JR., VANGUARD
 AMERICA, ANDREW ANGLIN,                    Civil Action No. 3:17-cv-00072-NKM
 MOONBASE HOLDINGS, LLC, ROBERT
 “AZZMADOR” RAY, NATHAN DAMIGO,
 ELLIOT KLINE a/k/a/ ELI MOSELY,
 IDENTITY EVROPA, MATTHEW                    JURY TRIAL DEMANDED
 HEIMBACH, MATTHEW PARROTT a/k/a
 DAVID MATTHEW PARROTT,
 TRADITIONALIST WORKER PARTY,
 MICHAEL HILL, MICHAEL TUBBS,
 LEAGUE OF THE SOUTH, JEFF SCHOEP,
 NATIONAL SOCIALIST MOVEMENT,
 NATIONALIST FRONT, AUGUSTUS SOL
 INVICTUS, FRATERNAL ORDER OF THE
 ALT-KNIGHTS, MICHAEL “ENOCH”
 PEINOVICH, LOYAL WHITE KNIGHTS OF
 THE KU KLUX KLAN, and EAST COAST
 KNIGHTS OF THE KU KLUX KLAN a/k/a
 EAST COAST KNIGHTS OF THE TRUE
 INVISIBLE EMPIRE,

                           Defendants.


      PLAINTIFFS’ NOTICE OF DEPOSITION OF CHRISTOPHER CANTWELL
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       PLEASE TAKE NOTICE that pursuant to Rule 30(b)(1) of the Federal Rules of Civil

Procedure, Plaintiffs, by and through their counsel, will take the deposition upon oral

examination of Defendant Christopher Cantwell, on March 19, beginning at 7:15 a.m. ET, and

continuing from day to day until completed. The deposition will take place via videoconference,

as agreed upon by the parties, or at such other location, date, method and time as may be

mutually agreed upon by the parties. The deposition will be conducted before an officer

authorized by law to administer oaths, will be recorded by stenographic means, and may be

recorded by video means and through the instant visual display of the testimony. The deposition

will be taken for the purposes of discovery and all other purposes permitted by the Federal Rules

of Civil Procedure.


Dated: March 3, 2021
       New York, New York

                                                     /s/ Michael L. Bloch
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                                                     Julie E. Fink (pro hac vice)
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